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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


DENNIS PREJEAN, on Behalf of Himself              CIVIL ACTION NO. 2:10-MD-02179
and Others Similarly Situated,
                                                  PERTAINING TO CASE NO. 2:12-cv-01045
         Plaintiff
                                                  SECTION: J
versus
                                                  JUDGE: BARBIER

O’BRIEN’S RESPONSE MANAGEMENT,                    DIVISION: 1
INC.
                                                  MAGISTRATE JUDGE: SHUSHAN

         Defendants.


                                           ORDER

         Considering Defendant’s foregoing Ex Parte Motion For Extension Of Time;

         IT IS ORDERED that Defendant’s Motion is hereby granted and the deadline by which

the responsive pleading shall be filed is extended until June 13, 2012.

         New Orleans, Louisiana, this ______ day of May, 2012.




                                             UNITED STATES DISTRICT JUDGE
